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				AMENDMENT TO RULES GOVERNING DISCIPLINARY PROCEEDINGS2017 OK 1Decided: 01/09/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 1, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

Amendment to the Rules Governing Disciplinary Proceedings
ORDER
Rule 1.1 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch. 1, app. 1-A, is hereby amended as shown on the attached Exhibit "A." Rule 1.1 with the amended language noted is attached as Exhibit "B." The amended rule is effective immediately. 
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 9th day of January, 2017.
/S/CHIEF JUSTICE
Combs, C.J., Gurich, V.C.J.,Watt, Winchester, Edmondson, Colbert and Reif, JJ., concur;
Kauger, J., not participating.

Exhibit "A"
Rule 1.1. Declaration of Jurisdiction.
This Court declares that it possesses original and exclusive jurisdiction in all matters involving admission of persons to practice law in this State, and to discipline for cause, any and all persons licensed to practice law in Oklahoma, hereinafter referred to as lawyers, and any other persons, corporations, partnerships, or any other entities (hereinafter collectively referred to as "persons") engaged in the unauthorized practice of law. This Court retains jurisdiction to impose discipline for cause on a lawyer whose name has been stricken from the Roll of Attorneys for non-payment of dues or for failure to complete mandatory continuing legal education. This Court further declares that a member of the Bar of this State may not take unto himself any office or position or shroud himself in any official title which will place him beyond the power of this Court to keep its roster of attorneys clean. Nothing in this declaration is intended to limit this Court's inherent power over anyone engaged in the practice of law. In the exercise of the foregoing jurisdiction, this Court adopts and promulgates the following rules which shall govern disciplinary and unauthorized practice of law proceedings.

"Exhibit B"
Rule 1.1. Declaration of Jurisdiction.
This Court declares that it possesses original and exclusive jurisdiction in all matters involving admission of persons to practice law in this State, and to discipline for cause, any and all persons licensed to practice law in Oklahoma, hereinafter referred to as lawyers, and any other persons, corporations, partnerships, or any other entities (hereinafter collectively referred to as "persons") engaged in the unauthorized practice of law. This Court retains jurisdiction to impose discipline for cause on a lawyer whose name has been stricken from the Roll of Attorneys for non-payment of dues or for failure to complete mandatory continuing legal education. This Court further declares that a member of the Bar of this State may not take unto himself any office or position or shroud himself in any official title which will place him beyond the power of this Court to keep its roster of attorneys clean. Nothing in this declaration is intended to limit this Court's inherent power over anyone engaged in the practice of law. In the exercise of the foregoing jurisdiction, this Court adopts and promulgates the following rules which shall govern disciplinary and unauthorized practice of law proceedings.




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